                     Case 16-26619-SMG Doc 42 Filed 08/11/20 Page 1 of 2
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                                                           CASE NO.: 16-26619-BKC-SMG
                                                                        PROCEEDING UNDER CHAPTER 13

IN RE:

RONALD JOSEPH
XXX-XX-0472

_____________________________/
DEBTOR

                                       NOTICE OF DELINQUENCY

   PLEASE TAKE NOTICE the above-referenced Debtor is delinquent in Confirmed Chapter 13 Plan
Payments in the amount of $5416.98.

   The Debtor shall have forty-five (45) days from the date of this Notice to make all payments due under
the Confirmed Plan/Modified Plan, INCLUDING ANY PAYMENTS THAT BECOME DUE WITHIN
THE FORTY-FIVE (45) DAY PERIOD.

    If the Chapter 13 Trustee ("Trustee") does not receive all payments by September 25, 2020 to bring the
Debtor totally current under the Confirmed Plan/Modified Plan, or if applicable, a Motion to Modify has
not been timely filed and set within fifteen (15) days of this Notice pursuant to the Confirmation Order, the
Trustee may file and serve a Report of Non-Compliance.

    As a result of the Debtor failure to become current or timely file a Motion to Modify, the case shall be
dismissed with prejudice to the filing of any bankruptcy proceeding for a period of 180 days from entry of
the Order of Dismissal without further notice or hearing.

    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Notice of Delinquency
was served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties listed on the attached
service list this 11th day of August 2020.


                                                                   /s/ Robin R. Weiner
                                                                   _____________________________________
                                                                   ROBIN R. WEINER, ESQUIRE
                                                                   STANDING CHAPTER 13 TRUSTEE
                                                                   P.O. BOX 559007
                                                                   FORT LAUDERDALE, FL 33355-9007
                                                                   TELEPHONE: 954-382-2001
                                                                   FLORIDA BAR NO.: 861154
                 Case 16-26619-SMG   Doc 42   Filed 08/11/20   Page 2 of NOTICE
                                                                         2      OF DELINQUENCY
                                                                      CASE NO.: 16-26619-BKC-SMG

                                     SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
RONALD JOSEPH
16258 SW 28TH COURT
MIRAMAR, FL 33027-5211

ATTORNEY FOR DEBTOR
MATTHEW MAZUR, JR., ESQUIRE
2645 EXECUTIVE OARK DRIVE
SUITE 110
WESTON, FL 33331
